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   8
   9                              UNITED STATES DISTRICT COURT
  10                            SOUTHERN DISTRICT OF CALIFORNIA
  11
  12 BofI FEDERAL BANK, a federal                       Case No. 3:15-cv-2353-BAS-NLS
     savings bank,
  13                                                    MEMORANDUM OF POINTS AND
                  Plaintiff,                            AUTHORITIES IN SUPPORT OF
  14                                                    JOINT MOTION FOR
           v.                                           DETERMINATION OF
  15                                                    DISCOVERY DISPUTE NO. 1
     CHARLES MATTHEW ERHART, an
  16 individual; and DOES 1-25, inclusive,              The Hon. Cynthia Bashant
                                                        (Schwartz Courthouse)
  17                      Defendants.
                                                        Magistrate Judge Nita L. Stormes
  18                                                    12th Floor
                                                        (Carter/Keep Courthouse)
  19
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                                                                      Case No. 3:15-cv-2353-MMA-JMA
       SMRH:476145615.2      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF JOINT MOTION FOR
                                      DETERMINATION OF DISCOVERY DISPUTE NO. 1; JOINT STATEMENT
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   1           Plaintiff BofI Federal Bank (“BofI”) and Carol Gillam (“Gillam”), attorney of
   2 record for Defendant Charles Matthew Erhart, submit the following joint motion for
   3 a determination of Discovery Dispute No. 1 regarding BofI’s subpoena to Gillam
   4 (the “Subpoena”). The parties certify they have met and conferred in person in an
   5 effort to resolve this issue but have reached an impasse.
   6 I.        INTRODUCTION
   7           A.         BofI’s Introduction
   8           BofI sued a former junior auditor employed in its internal audit department,
   9 Charles Matthew Erhart (“Erhart”) for various causes of action arising from Erhart’s
  10 theft and dissemination of BofI’s confidential, privileged and proprietary
  11 information (including private banking information, confidential regulatory
  12 communications, and the social security numbers of many of BofI’s customers).
  13 Gillam (Erhart’s attorney) is responsible for one of Erhart’s primary breaches of
  14 confidentiality because she referenced confidential, non-public communications
  15 between BofI and the Office of the Comptroller of Currency (the “OCC”) in
  16 Erhart’s publicly filed wrongful termination complaint. In response to Gillam’s
  17 improper disclosures, the OCC wrote BofI a letter demanding that Erhart and Gillam
  18 desist from further disclosure of non-public communications with the OCC.
  19           BofI served its Subpoena on Gillam to obtain all communications between her
  20 office and third parties (including her acknowledged communications with The New
  21 York Times) concerning BofI. This information is directly relevant to BofI’s
  22 substantive claims against Erhart in this action – the identity of the persons with
  23 whom Erhart and his attorneys have communicated will allow BofI to identify the
  24 full scope of Erhart’s breaches of confidentiality. In response to BofI’s narrowly
  25 tailored Subpoena, Gillam refused to produce any documents. Instead, she served a
  26 series of inapplicable boilerplate objections. The Court should overrule Gillam’s
  27 meritless objections and require her to produce all documents responsive to BofI’s
  28 Subpoena.
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   1           B.         Gillam’s Introduction
   2           In the latest installment of BofI’s litany of motions directed at Defendant Matt
   3 Erhart to punish and silence him for filing a whistleblower lawsuit against BofI,
   4 BofI seeks to compel Mr. Erhart’s counsel of record, Carol Gillam, to comply with a
   5 baseless and inappropriate subpoena. In the instant motion, BofI continues a
   6 disturbing pattern of attempting to drive a wedge between lawyer and client and turn
   7 Ms. Gillam into a witness in the case by subpoenaing ALL communications
   8 between Ms. Gillam and third parties concerning BofI. This comes on the heels of
   9 BofI’s Motion for Determination of Waiver of Privilege, whereby BofI made the
  10 outrageous claim that it could access all of Mr. Erhart’s communications with his
  11 counsel because he complied with a court order and turned over his laptop to BofI
  12 after receiving assurances of no waiver.
  13           Plaintiff’s subpoena is effectively a fishing expedition to gain access to Ms.
  14 Gillam’s files so Plaintiff does not have to do the legwork to support its own
  15 baseless lawsuit. Before the Rule 26(f) conference, and before formal discovery
  16 even began, Plaintiff issued a subpoena to Ms. Gillam, showing no effort to obtain
  17 the information it seeks through other means. Its requests are vague and ambiguous,
  18 overbroad, intrusive into the attorney-client relationship, inappropriately request
  19 work product and privileged material, and unduly burdensome. Nor are these
  20 requests relevant, as Plaintiff’s Complaint does not allege that Ms. Gillam
  21 disseminated confidential information. Additionally, BofI attempts to leave the door
  22 open to gain ongoing access to Ms. Gillam’s litigation strategy and files by
  23 proclaiming itself the arbiter of determining her compliance with the Court’s TRO.
  24           Moreover, during the parties’ meet and confer, Defendant offered the
  25 reasonable compromise that Ms. Gillam would produce communications sent out by
  26 her prior to and including the date the lawsuit was filed, October 13, 2015, the
  27 relevant date when BofI’s stock price plummeted. However, Plaintiff rejected this
  28 offer, and instead seeks to keep Ms. Gillam on the hook to provide her files to BofI
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   1 on an open-ended basis. If the court permits this subpoena to stand, BofI will
   2 continue to use its bullying tactics to put in place a rolling records request with no
   3 end in sight, unethically drawing Ms. Gillam into this litigation. For these reasons,
   4 Plaintiff’s motion to compel should be denied in its entirety, and its subpoena to Ms.
   5 Gillam quashed.
   6 II.       RELEVANT BACKGROUND
   7           A.         BofI’s Statement Of The Relevant Background
   8                      1.     BofI’s Complaint Against Erhart For The Theft And Dissemi-
                                 nation Of BofI’s Confidential Information
   9
  10           On September 23, 2013, Erhart commenced his employment at BofI as a Staff
  11 Internal Auditor. (Cronthall Decl. Ex. A ¶ 7.) During the course of his
  12 employment, Erhart had access to BofI’s confidential, proprietary, and privileged
  13 information. (Id. Ex. A ¶ 11.) As an employee in the banking and finance industry,
  14 Erhart was under a regulatory obligation to preserve BofI’s confidential information.
  15 (Id. Ex. A ¶¶ 15, 17.) In addition, Erhart entered into several agreements with BofI
  16 where he agreed to safeguard BofI’s confidential information (including the
  17 confidential information of its customers). (Id. Ex. A ¶¶ 16, 18-21.)
  18           During his employment, Erhart unilaterally expanded the scope of his
  19 purported investigatory efforts. (See id. Ex. A ¶¶ 23-28.) Erhart had no authority to
  20 define his own audit of investigation assignments. (Id. Ex. A ¶ 25.) Erhart also
  21 failed to complete at least nine internal audits that were assigned to him. (Id. Ex. A
  22 ¶ 29.)
  23           Between January 13, 2015 and March 11, 2015, Erhart surreptitiously
  24 converted large amounts of BofI’s confidential information, including (i)
  25 information containing BofI’s intellectual property; (ii) confidential and proprietary
  26 information belonging to BofI, its employees, its business counterparties, and/or its
  27 clients (including BofI’s customer’s private banking information and social security
  28 numbers); and (iii) information containing the non-public personal information of
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   1 BofI employees, business counterparties, and clients. (Id. Ex. A ¶¶ 11, 30-39.)
   2 Erhart abandoned his job on March 5, 2015 and was effectively terminated on June
   3 9, 2015. (Id. Ex. A ¶¶ 40-41.) Erhart has shared BofI’s confidential information
   4 with his attorney, Carol Gillam. (See id. Ex. B ¶ 9.)
   5           On October 13, 2015, BofI learned that Erhart and Gillam publicly disclosed
   6 its confidential information to The New York Times, after which BofI’s stock
   7 plummeted by 30.2% in a single day (representing hundreds of millions of dollars in
   8 lost market capitalization). (Id. Ex. A ¶ 46.) That same day, Erhart also filed a
   9 “whistle blower” complaint against BofI alleging (among other things) that he was
  10 wrongfully terminated as a result of his rogue audits of BofI. (Id. ¶ 3.)
  11           On October 19, 2015, BofI initiated this action against Erhart for breach of
  12 contract, conversion, breach of the duty of loyalty, negligence, fraud, violation of
  13 California Penal Code Section 502, violation of the Computer Fraud and Abuse Act
  14 (18 U.S.C. § 1030(a)(5)), and violation of California Business and Professions Code
  15 Section 17200, et seq. (Id. ¶ 4.) BofI moved swiftly to stop Erhart’s unlawful
  16 distribution of BofI’s confidential information. On November 2, 2015, BofI
  17 obtained a TRO against Erhart and his “agents” (including Gillam) requiring them to
  18 “refrain from disclosing, reviewing, sharing, transmitting, and/or using, any
  19 confidential, privileged, or proprietary information belonging to BofI, its employees,
  20 its business counterparties, its customers, and/or its clients.” (Id. ¶ 7; Dkt. # 10.)
  21 On November 16, 2015, the Court entered an order supplementing the TRO to
  22 impose additional obligations on Erhart and Gillam requiring them to identify all
  23 individuals and/or entities to whom they transmitted BofI’s confidential information.
  24 (Id. ¶ 8; Dkt. # 17.)
  25           Erhart and Gillam have already improperly publicly disclosed BofI’s
  26 confidential information. For example, on October 30, 2015, the OCC sent BofI a
  27 letter stating that it had reviewed Erhart’s purported “whistleblower” action and
  28 determined that it disclosed “privileged non-public OCC information.” (See id. Ex.
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   1 C.) The OCC also stated that it “believe[d] that Mr. Erhart’s complaint contains
   2 non-public OCC information.” (Id.) Thus, there is no question that Gillam has
   3 accessed BofI’s confidential information and has previously disclosed it.
   4           BofI believes that Erhart and Gillam have continued to disseminate BofI’s
   5 confidential information. The purpose of the Subpoena is to determine the exact
   6 nature and extent of Gillam’s communications with third-parties concerning BofI.
   7                      2.     BofI’s Subpoena To Gillam
   8           On February 1, 2016, BofI served a document Subpoena on Gillam to obtain
   9 her communications with the media and other third parties concerning BofI. (Id. Ex.
  10 D.) The Subpoena was narrowly tailored and sought only non-privileged
  11 documents. The Subpoena sought Gillam’s directly relevant communications
  12 regarding BofI with: (i) The New York Times; (ii) Peter Eavis (a writer for The
  13 New York Times); (iii) Seeking Alpha, Inc. (“Seeking Alpha”) (an investment blog
  14 favored by short sellers); and (iv) non-privileged communications with third parties
  15 concerning BofI. (See id.)
  16           On February 16, 2016, Gillam served an objection to the Subpoena via
  17 overnight delivery. (Id. Ex. E.) Gillam refused to produce any documents in
  18 response to the Subpoena and, instead, listed a series of boilerplate and/or
  19 inapplicable objections. (See id.)
  20           On February 26, 2016, BofI responded to each of the objections in good faith
  21 in an attempt to show Gillam that the information sought was relevant, non-
  22 privileged, and easily gathered. (Id. ¶ 14.) To allow sufficient time for BofI to
  23 prepare this motion, its letter requested to meet and confer in person at a mutually
  24 convenient time on or before March 11, 2016 (which gave Gillam two weeks to pick
  25 a date). (Id.) Gillam, however, ignored BofI’s requests for a personal meeting. On
  26 March 11, 2016, BofI’s attorneys called Gillam again requesting a time to meet and
  27 confer in person concerning the Subpoena. (Id. ¶ 15.) Gillam did not return BofI’s
  28
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   1 call. On March 16, 2016, BofI’s attorneys sent Gillam an email again asking for a
   2 meet and confer. (Id. ¶ 16.)
   3           On March 21, 2016, Gillam’s associate, Sara Heum, and BofI’s attorney,
   4 Andre Cronthall, complied with this Court’s requirements to meet and confer in
   5 person. (Id. ¶ 17.) Despite protracted efforts, however, the parties were unable to
   6 reach agreement. During the conference, Ms. Heum confirmed that, at a minimum,
   7 responsive documents existed regarding communications with The New York
   8 Times. (Id. ¶ 18.) Ms. Heum also proposed a compromise. Within two weeks of
   9 the March 21, 2016 meet and confer, Ms. Heum offered to produce Gillam’s pre-
  10 October 13, 2015 communications with various unidentified media outlets. (Id.)
  11 This compromise was not acceptable to BofI for two reasons. First, there is no
  12 logical reason to limit the production to responsive documents in existence prior to
  13 the litigation. Indeed, Gillam’s “post-filing” communications are relevant to her
  14 compliance with the TRO. Second, Ms. Heum’s proposal to produce documents in
  15 “two weeks” would have prevented BofI from moving to compel if Gillam failed to
  16 produce the documents as promised. See Hon. Nita Stormes Civ. Case Proc. §
  17 VI.C.2.d (“rolling document productions” do not extend the deadline to move to
  18 compel). Thus, BofI informed Gillam that it would be filing this motion.
  19           B.         Gillam’s Statement Of Relevant Background
  20           Defendant Charles Matthew Erhart is a whistleblower under the Sarbanes-
  21 Oxley Act (18 U.S.C. § 1514A) ("SOX") and the Dodd-Frank Act (15 U.S.C. § 78u-
  22 6) ("Dodd-Frank"), as well as under California Labor Code § 1102.5. Mr. Erhart
  23 filed a whistleblower lawsuit against BofI. (See Case No. 15CV2287-BAS-NLS).
  24 Thereafter, BofI filed the instant case. (Ex. F, Gillam Decl. ¶3).
  25           Plaintiff’s claims in this lawsuit are based on allegations that Mr. Erhart
  26 disclosed confidential BofI information to third parties. The crux of BofI’s claims
  27 and alleged damages are that its stock prices plummeted on October 13, 2015,
  28 something that occurred after Mr. Erhart filed his whistleblower lawsuit. (Ex. A,
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   1 First Amended Complaint “FAC”). Now, in this motion, BofI takes the liberty to
   2 allege that on October 13, 2015, BofI learned that Erhart AND Gillam publicly
   3 disclosed confidential information to The New York Times, when Ms. Gillam is not
   4 a named Defendant in the suit. Nor does the Complaint itself allege anywhere that
   5 she herself made any alleged leaks. (See Section II. A., infra; Ex. A, FAC). In fact,
   6 the Complaint alleges that BofI “learned that Erhart publicly disclosed out of
   7 context portions of the Confidential Information, through among other actions,
   8 dissemination to the New York Times and filing his complaint,” and that the alleged
   9 dissemination caused BofI’s stock price to plummet “30.2% in one single day.” Id.
  10 BofI’s chief complaint about Ms. Gillam’s role in the matter seems to be that she
  11 filed the lawsuit that caused BofI’s stock prices to plummet. Id.
  12           BofI now claims that Erhart and Gillam are disseminating BofI’s confidential
  13 information, with its only cited basis being an October 30, 2015, letter the OCC sent
  14 the parties in which it asked them to desist from disclosing non-public OCC
  15 information, which it believed Mr. Erhart’s complaint contained. (Ex. F, Gillam
  16 Decl. ¶ 5; Ex. H, OCC Letter to Gillam). The letter states that non-public OCC
  17 information is confidential and privileged, and that a private litigant who seeks non-
  18 public OCC information must submit a request to the OCC’s Director of Litigation.
  19 Id.; see also 12 C.F.R. Section 4.34(a).
  20           BofI is already well aware that Mr. Erhart filed a whistleblower complaint
  21 and turned over select documents to federal regulators. (Ex. F, Gillam Decl. ¶ 6;
  22 Ex.I, Erhart Decl. in Opposition to MPI). BofI is also already aware that Mr. Erhart
  23 did not disseminate confidential information. On December 6, 2015, Mr. Erhart was
  24 deposed by BofI, whereby he testified that he did not share confidential information
  25 with anyone besides his counsel and federal law enforcement authorities. (Ex. F,
  26 Gillam Decl. ¶¶ 6-7 ). He also testified that he sent information to his mother for
  27 safekeeping before he retained counsel, when he was fearful the Bank would destroy
  28 information and potentially cause him harm, but that his mother never looked at it.
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   1 (Ex. I, Erhart Decl. in Opposition to MPI ¶¶ 76-81). The parties also cooperated in
   2 allowing the Bank to have forensic auditors inspect Mr. Erhart’s computer. Mr.
   3 Erhart provided a declaration to Bank counsel describing the contents of information
   4 on his computer. (Id. at ¶ 81; see also Ex. B, Erhart December 3, 2015, Decl.).
   5           Notwithstanding Mr. Erhart’s full cooperation with BofI, the Bank served a
   6 subpoena on Carol Gillam, Mr. Erhart’s counsel of record on February 2, 2016.
   7 (Ex. J, Heum Decl. ¶ 3). Ms. Gillam served objections via overnight delivery on
   8 February 16, 2016. (Id.; Ex. E, Gillam Objections.) Following BofI’s request to
   9 meet and confer before March 11, 2016, Ms. Gillam did not ignore BofI’s request as
  10 BofI contends. On the contrary, Ms. Gillam emailed BofI’s counsel, Polly Towill,
  11 on March 7, 2016, informing Ms. Towill that she was in arbitration and had two
  12 days of an MSC, but was happy to talk by phone. (Ex. F, Gillam Decl., ¶ 9) Ms.
  13 Gillam continued to work with Ms. Towill to find dates to meet and confer, emailing
  14 her on March 16, 2016, to set up an in-person meet and confer for the following
  15 Monday, March 21, 2016. Id.
  16           On March 21, 2016, counsel for the parties met and conferred, during which
  17 time Defendant’s position and Ms. Gillam’s objections to the subpoena were
  18 discussed in detail. (Ex. J, Heum Decl. ¶ 3) Defendant offered to produce Ms.
  19 Gillam’s communications to media outlets prior to and including the date of filing of
  20 the complaint, October 13, 2015, on the condition that BofI not file a motion to
  21 compel (not October 30, 2016 as Plaintiff states). Id. However, BofI’s counsel
  22 indicated that he did not believe BofI would agree, and confirmed this position in a
  23 letter dated March 23, 2016. Id. Moreover, BofI’s counsel indicated that BofI
  24 sought information beyond what Ms. Gillam communicated to media outlets, that it
  25 was interested in communications from media outlets and third parties as well. Id.
  26 Moreover, BofI did not indicate during the meeting or the letter that the timeframe
  27 of production within two weeks was problematic. Id.
  28
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   1 III.      Legal Standards
   2           A.         BofI’s Statement of Legal Standards
   3           Rule 45 of the Federal Rules of Civil Procedure provides the framework for
   4 securing from non-parties, through the use of subpoenas, documents relevant to
   5 pending litigation. FED. R. CIV. P. 45 (a), (b). It is well settled that the scope of a
   6 Rule 45 subpoena is informed by Rule 26, which governs civil discovery generally.
   7 See Exxon Shipping Co. v. U.S. Dep’t of Interior, 34 F.3d 774, 779 (9th Cir. 1994).
   8           When a discovery dispute arises, the party seeking to compel discovery has
   9 the initial burden of establishing that its request satisfies the broad relevancy
  10 requirements of Rule 26(b)(1). Soto v. City of Concord, 162 F.R.D. 603, 610 (N.D.
  11 Cal. 1995). Thereafter, the party opposing discovery has the burden of clarifying,
  12 explaining or supporting its objections. DIRECTV, Inc. v. Trone, 209 F.R.D. 455,
  13 458 (C.D. Cal. 2002), citing Blankenship v. Hearst Corp., 519 F.2d 418, 429 (9th
  14 Cir. 1975). Those opposing discovery are “required to carry a heavy burden of
  15 showing” why discovery should be denied. Blankenship, 519 F.2d at 429.
  16           B.         Gillam’s Statement of Legal Standards
  17           Rule 45(d)(1) provides that a party or attorney responsible for issuing and
  18 serving a subpoena must take reasonable steps to avoid imposing undue burden or
  19 expense on a person subject to the subpoena. FED. R. CIV. P. 45 (d). The court must
  20 quash or modify a subpoena if the subpoena fails to allow a reasonable time for
  21 compliance; requires disclosure of privileged or other protected matter, if no
  22 exception or waiver applies; or subjects a person to undue burden. FED. R. CIV. P.
  23 45 (d)(3). Alternatively, the court may order production under specified conditions
  24 if the serving party: (i) shows a substantial need for the testimony or material that
  25 cannot be otherwise met without undue hardship; and (ii) ensures that the
  26 subpoenaed person will be reasonably compensated. Id.
  27           Furthermore, Rule 26(b)(2)(C) gives the court the power to limit discovery if
  28 it determines that “(i) the discovery sought is unreasonably cumulative or
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   1 duplicative, or can be obtained from some other source that is more convenient, less
   2 burdensome, or less expensive; (ii) the party seeking discovery has had ample
   3 opportunity to obtain the information by discovery in the action; or (iii) the
   4 proposed discovery is outside the scope permitted by Rule 26(b)(1).”
   5 Request No. 1:
   6           Any and all COMMUNICATIONS between YOU and the NEW YORK
   7 TIMES concerning Bofl during the RELEVANT TIME PERIOD.
   8 Response No. 1:
   9           Objection. Defendant objects that the request is vague, ambiguous, and
  10 overbroad. Defendant objects that this request calls for documents which are
  11 protected by the attorney-client privilege, work product doctrine, privacy, or any
  12 other privilege or right of confidentiality available under California law. Defendant
  13 objects that the request is oppressive, burdensome, and meant to harass. Defendant
  14 objects that the request calls for a legal conclusion and/or expert opinion. Defendant
  15 objects that the request is not relevant and unlikely to lead to the discovery of
  16 admissible evidence.
  17 BofI’s Reason to Compel Production:
  18           A.         Gillam’s Communications With The New York Times Concerning
                          BofI Are Relevant
  19
               Relevant information is that which is “reasonably calculated to lead to the
  20
       discovery of admissible evidence.” FED. R. CIV. P. 26(b)(1). In determining
  21
       whether the information sought by a subpoena is relevant, the party seeking it must
  22
       first tell the court its plans for the requested information. Gonzales v. Google, Inc.,
  23
       234 F.R.D. 674, 680 (N.D. Cal. 2006). In the comments to Rule 26(b)(1), the
  24
       Advisory Committee attempts to further clarify the rule:
  25
               The Committee intends that the parties and the court focus on the
  26           actual claims and defenses involved in the action. . . . A variety of
               types of information not directly pertinent to the incident in suit could
  27           be relevant to the claims or defenses raised in a given action. . . . For
               example, other incidents of the same type . . . could be properly
  28           discoverable if likely to yield or lead to the discovery of admissible
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   1           information.
   2 Here, BofI’s Request No. 1 seeks relevant information.
   3           BofI filed this action after it learned that Erhart and/or his attorney had
   4 wrongfully disseminated BofI’s confidential information. Gillam has tacitly
   5 admitted that she communicated with The New York Times prior to filing her
   6 whistleblower Complaint. (Cronthall Decl. ¶ 18.) Notably, whether it was
   7 intentional or unintentional, Gillam has previously disclosed non-public regulatory
   8 communications between BofI and the OCC. (Id. Ex. C.) BofI must review
   9 Gillam’s communications with The New York Times to determine whether they
  10 improperly disclose BofI’s confidential information. Whether and to what extent
  11 Erhart and Gillam have disclosed BofI’s confidential information to third-parties
  12 (such as The New York Times) is relevant to proving BofI’s substantive claims
  13 against Erhart for breach of his confidentiality obligations. The nature of the
  14 unauthorized disclosures to third parties is also relevant to the issue of damages.
  15 Finally, despite Gillam’s offer to produce all “pre-filing” communications with the
  16 media, BofI must review Gillam’s “post-filing” communications to monitor her
  17 compliance with the Court’s TRO. In sum, Request No. 1 easily satisfies the test for
  18 relevance.
  19           B.         Request No. 1 Is Not Vague, Ambiguous, Or Overbroad
  20           Gillam cannot meet her burden to show that Request No. 1 is vague or
  21 ambiguous. There is nothing vague or ambiguous about Request No. 1. Request
  22 No. 1 simply seeks Gillam’s (and her office’s) communications with The New York
  23 Times concerning BofI. Plainly this objection is boilerplate. Where “the
  24 responding party provides a boilerplate or generalized objection [to discovery], the
  25 ‘objections are inadequate and tantamount to not making any objection at all.’”:
  26 Makaeff v. Trump U., LLC, 2013 U.S. Dist. LEXIS 34974, at *18 (S.D. Cal. Mar.
  27 12, 2013) (quoting Walker v. Lakewood Condo. Owners Ass’n, 186 F.R.D. 584, 587
  28 (C.D. Cal. 1999)). Gillam’s “vague and ambiguous” objection is boilerplate.
                                            -11-               Case No. 3:15-cv-2353-BAS-NLS
       SMRH:476145615.2      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF JOINT MOTION FOR
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   1 Accordingly, it is the equivalent to not objecting. The Court should overrule this
   2 objection.
   3           C.         Gillam Fails To Meet Her Burden To Show That Her
                          Communications With The New York Times Are Privileged
   4
   5           “A party asserting the attorney-client privilege has the burden of establishing
   6 the relationship and the privileged nature of the communication.” United States v.
   7 Bauer, 132 F.3d 504, 507 (9th Cir. 1997) (citation omitted). Likewise, it is the
   8 burden of the party asserting the work-product protections to establish that the work-
   9 product protections apply. See Obesity Research Institute v. Fiber Research Int’l,
  10 2016 U.S. Dist. LEXIS 32605, *7 (S.D. Cal. Mar. 11, 2016) (placing the burden on
  11 the party asserting work-product objection). Pursuant to Rule 26(b)(5)(A)(ii) of the
  12 Federal Rules of Civil Procedure, Gillam had an obligation to “describe the nature
  13 of the documents, communications, or tangible things not produced or disclosed…
  14 [so that BofI may] assess the claim [of privilege and/or work product].” Here,
  15 Gillam has wholly failed to satisfy her burden to show that her communications with
  16 The New York Times are privileged.
  17           Gillam has not identified The New York Times as a client of hers.
  18 Regardless, even if Gillam could show that The New York Times was a “client” of
  19 hers (and she cannot), communications concerning Erhart and BofI would not have
  20 been made “in order to obtain legal advice.” See Bauer, 132 F.3d at 507. Simply
  21 stated, communications concerning BofI’s alleged business practices would be
  22 completely irrelevant to any legal advice sought by The New York Times.
  23           The New York Times is also not a “litigation consultant” or other third-party
  24 necessary to the attorney-client relationship between Gillam and Erhart. United
  25 States v. Moscony, 927 F.2d 742, 752 (3rd Cir. 1991) (A communication remains
  26 “confidential” provided it is “not intended to be disclosed to third persons other than
  27 those to whom disclosure is in furtherance of the rendition of professional legal
  28 services to the client.”); United States v. Nobles, 422 U.S. 225, 239 (1975) (work
                                                 -12-               Case No. 3:15-cv-2353-BAS-NLS
       SMRH:476145615.2     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF JOINT MOTION FOR
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   1 product may be waived by disclosure). Accordingly, the Court should overrule
   2 Gillam’s baseless attorney-client privilege and work-product objections.
   3           D.         Gillam Fails To Meet Her Burden To Show That Request No. 1 Is
                          Unduly Burdensome
   4
   5           Gillam has failed to meet her burden to show that Request No. 1 is unduly
   6 burdensome. During the in person meet and confer process, BofI’s attorney asked
   7 whether Gillam had attempted to approximate the magnitude of responsive
   8 documents. (Cronthall Decl. ¶ 19.) Gillam’s associate responded that she had not.
   9 (Id.) Moreover, during the in-person meet and confer, BofI further reduced any
  10 burdens by clarifying that it did not seek any documents already filed in the
  11 litigation or that have been previously produced to BofI. (Id.) Gillam has failed to
  12 provide any basis for its “unduly broad and burdensome” objection. Thus, the
  13 objection is boilerplate and is equivalent to not objecting at all. See Makaeff, 2013
  14 U.S. Dist. LEXIS 34974, at *18. The Court should overrule this objection.
  15           E.         Gillam’s “Expert Opinion” Objection Is Unintelligible
  16           The Subpoena requests documents, not testimony. (See Cronthall Decl. Ex.
  17 D.) Thus, Gillam’s objection that the Subpoena calls for an expert opinion is
  18 unintelligible. The New York Times is not a litigation consultant and Gillam’s
  19 communications with an unaffiliated third party concerning BofI do not qualify as
  20 expert testimony. Accordingly, the Court should overrule this meritless objection as
  21 well.
  22 Gilliam’s Basis for Objections:
  23           BofI has failed to meet its burden of showing that its request is relevant, and
  24 its discovery request does not comport with Rule 26(b)(1). Furthermore, Rule
  25 26(b)(1) no longer permits a party to seek discovery “reasonably calculated to lead
  26 to admissible evidence.” Instead, the rule provides that a party may obtain
  27 nonprivileged discovery relevant to a party's claim or defense and proportional to
  28 the needs of the case, considering the importance of the issues at stake in the action,
                                              -13-                 Case No. 3:15-cv-2353-BAS-NLS
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   1 the amount in controversy, the parties' relative access to relevant information, the
   2 parties' resources, the importance of the discovery in resolving the issues, and
   3 whether the burden or expense of the proposed discovery outweighs its likely
   4 benefit. FED. R. CIV. P. Rule 26(b)(1). Here, the request is vague and ambiguous,
   5 overbroad, intrusive into the attorney-client relationship, inappropriately requests
   6 work product and privileged material, and unduly burdensome.
   7           A. BofI has failed to meet its burden of showing that its request is
   8                relevant.
   9           The issue in this litigation concerns Mr Erhart’s alleged dissemination of
  10 confidential information. Yet, for the first time, in this motion, BofI takes the
  11 liberty to claim that Erhart AND Gillam publicly disclosed confidential information
  12 to The New York Times (“NYT”), when Ms. Gillam is not a named Defendant in
  13 the suit, nor does the Complaint itself allege anywhere that she herself made any
  14 alleged leaks. BofI provides absolutely no support for its claim that Ms. Gillam
  15 disclosed confidential information. Furthermore, if Ms. Gillam were disseminating
  16 confidential information, why did the stock price not drop before the filing of the
  17 lawsuit? The filing of Mr. Erhart’s whistleblower lawsuit had a logical impact on
  18 stock prices. Also, as discussed in Section II. B, supra, Mr. Erhart already provided
  19 a declaration detailing all the disclosures he made regarding BofI and denying that
  20 he ever disseminated confidential information to third parties. Mr. Erhart also
  21 testified extensively about the confidential information he had and his
  22 whistleblowing activities. Yet BofI continues to casts a wide net in search of a
  23 smoking gun to confirm its unfounded belief that Ms. Gillam is somehow
  24 responsible for disseminating confidential information.
  25           Moreover, the request itself seeks communications “between” Ms. Gillam and
  26 the New York Times, not strictly communication from Ms. Gillam. How the New
  27 York Times’ communications to Ms. Gillam would be relevant in a claim that Mr.
  28 Erhart disseminated information to the NYT remains to be seen.
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   1           BofI’s new angle is to target Ms. Gillam, now that it has exhausted the
   2 information it could get out of Mr. Erhart. BofI’s allegation that Ms. Gillam
   3 disseminated confidential information to the NYT is baseless, and the request is not
   4 relevant to the litigation.
   5           B. The request is vague, ambiguous, overbroad, and poses an undue
   6                burden.
   7           While BofI may claim that Ms. Gillam does not need to produce documents
   8 already filed or which have been previously produced to BofI, that is not what the
   9 request says. The request asks for all communications “concerning” BofI from
  10 September 23, 2013, through the date of Ms. Gillam’s response to the subpoena.
  11 (Ex. D, Subpoena to Gillam). There is no limiting language that narrows the
  12 requests to documents filed or produced, nor as to “confidential information” which
  13 Ms. Gillam allegedly disseminated. The request does not even attempt to purport
  14 that it does not seek privileged information.
  15           Furthermore, the term “concerning” is vague and ambiguous, and overbroad,
  16 as is the definition of “BofI” contained in the subpoena. The definition states that
  17 the term “includes BofI’s employees, agents, representatives, and other persons
  18 acting on its behalf, and shall be construed either disjunctively or conjunctively as
  19 necessary to bring within the scope of the demand that which might otherwise be
  20 construed to be outside its scope.” (Ex. D, Subpoena to Gillam, emphasis added).
  21 By its own admission, BofI seeks to bring within the subpoena anything that could
  22 possibly be construed as outside of its scope. The request is over-inclusive. Ms.
  23 Gillam is not familiar with each and every employee or agent of BofI and cannot
  24 possibly be asked to disclose any communication that could potentially have been
  25 made “concerning” such individuals.
  26           Moreover, the subpoena is unduly burdensome and disproportionate under
  27 rules 26 and 45. In determining whether a subpoena is unduly burdensome, courts
  28 consider “such factors as relevance, the need of the party for the documents, the
                                               -15-                  Case No. 3:15-cv-2353-BAS-NLS
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   1 breadth of the document request, the time period covered by it, the particularity with
   2 which the documents are described and the burden imposed.” Moon v. SCP Pool
   3 Corp., 232 FRD 633, 637(CD CA 2005); see also Amini Innovation Corp. v.
   4 McFerran Home Furnishings, Inc., 300 F.R.D. 406 (C.D. Cal. 2014) (where the
   5 court considered undue burden and quashed subpoena of a non-party with no stake
   6 in the litigation). Concern for the unwanted burden thrust upon non-parties is a
   7 factor entitled to special weight in evaluating the balance of competing needs in
   8 evaluating whether to quash a nonparty subpoena. Id.
   9           The vagueness and ambiguity of the request renders it disproportionate to the
  10 needs of the case and unduly burdensome. Moreover, BofI has the resources and
  11 access to obtain the information it seeks through other means, but does not appear to
  12 wish to pursue its other avenues. Early in this litigation, and before discovery has
  13 even formally commenced BofI immediately turns to Ms. Gillam for her files.
  14           Additionally, by turning Ms. Gillam into a witness, BofI is intruding on the
  15 attorney-client relationship and putting Ms. Gillam in a precarious situation where
  16 she may have to be deposed. The danger this burden poses to the attorney-client
  17 relationship outweighs any likely benefit BofI would receive from production. FED.
  18 R. CIV. P. Rule 26(b)(1).
  19           Finally, Ms. Gillam did offer to narrow the scope of the subpoena by
  20 producing communications she made to media outlets up through the date of filing
  21 Mr. Erhart’s complaint, which BofI refused. Clearly, BofI wants to make its request
  22 as broad as possible, creating an undue burden on Ms. Gillam. “[T]he initiation of a
  23 law suit does not, by itself, grant plaintiffs the right to rummage unnecessarily and
  24 unchecked through the private affairs of anyone they choose.” Cook v. Yellow
  25 Freight System, Inc., 132 F.R.D. 548, 551 (E.D. Cal. 1990).
  26           C. The request seeks work product and privileged information.
  27           Rule 26 limits discovery to non-privileged matter, and further provides
  28 protection for documents and tangible things that are prepared in anticipation of
                                              -16-                Case No. 3:15-cv-2353-BAS-NLS
       SMRH:476145615.2   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF JOINT MOTION FOR
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   1 litigation or for trial. FED. R. CIV. P. Rule 26. In order for lawyers to “act within the
   2 framework of our system of jurisprudence to promote justice and protect their
   3 client's interests,” it is “essential that a lawyer work with a certain degree of privacy,
   4 free from unnecessary intrusion by opposing parties and their counsel.” Hickman v.
   5 Taylor, 329 U.S. 495 (1947).
   6           Here, the request seeks communications “between” Ms. Gillam and the NYT.
   7 Any communications Ms. Gillam had with the NYT provide BofI an insight into
   8 Ms. Gillam’s litigation strategy and constitute work product. Any documents
   9 responsive to this request would constitute work product because they were
  10 prepared in anticipation of litigation.
  11           BofI not only seeks Ms. Gillam’s communications to the New York Times,
  12 but also communications from the NYT. Ms. Gillam’s investigative efforts,
  13 research, and memoranda based on her communications with third parties are clearly
  14 work product. See Kintera, Inc. v. Convio, Inc., 219 F.R.D. 503, 510 (S.D. Cal.
  15 2003) (protecting witness statements as work product, regardless of whether they
  16 contain mental impressions of counsel). Whatever information Ms. Gillam gathered
  17 in the course of representing Mr. Erhart is no business of BofI’s. The court need not
  18 look beyond this as the request is not limited to Ms. Gillam’s communications to the
  19 NYT.
  20           Notwithstanding, disclosure to a third party does not automatically waive the
  21 protection of the work product doctrine. U.S. E.E.O.C. v. ABM Industries Inc., 261
  22 F.R.D. 503, 512 (E.D. Cal. 2009) (internal citation omitted). Because one of the
  23 primary functions of the work product doctrine is to prevent a current or potential
  24 adversary in litigation from gaining access to the fruits of counsel's investigation,
  25 analysis, and strategies for developing and presenting the client's case, any analysis
  26 of work product waiver issues must focus on whether the subject disclosures
  27 increased the likelihood that a current or potential opponent in litigation would gain
  28 access to the disputed documents. Id. (internal citations omitted). Ms. Gillam’s
                                               -17-                 Case No. 3:15-cv-2353-BAS-NLS
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   1 communications with the NYT constituted a litigation strategy, and communications
   2 made were privileged in that they were not widely disseminated and could
   3 reasonably be expected to remain private given that Ms. Gillam is not a party to this
   4 suit and that First Amendment protections and privileges apply. Moreover, Ms.
   5 Gillam was quoted in the NYT (as was Gregory Garrabrants, Bank of Internet’s
   6 chief executive), when the lawsuit was filed so BofI already has access to whatever
   7 material was publicly disclosed.
   8           BofI has not shown that it is prejudiced in any way from not gaining the fruits
   9 of Ms. Gillam’s labor. It is free to conduct its own investigations and seek
  10 discovery from other sources to lend support to its new baseless allegations.
  11           D. The subpoena was procedurally defective and did not provide
  12                sufficient time to respond.
  13           FRCP 45(a)(4) requires that, before a subpoena is served on the person to
  14 whom it is directed, a notice and copy of the subpoena must be served on each party.
  15 See also Butler v. Biocore Medical Technologies, Inc. (10th Cir. 2003) 348 F3d
  16 1163, 1173; Pagán-Colón v. Walgreens of San Patricio, Inc. (D PR 2010) 264 FRD
  17 25, 28. Here, and as stated in Ms. Gillam’s Objections, the notice of subpoena was
  18 served concurrently as an attachment to the subpoena, not in advance of service of
  19 the subpoena. (Ex. F, Gillam Decl. , Therefore, Mr. Erhart was not afforded proper
  20 notice and the subpoena fails on its face. Moreover, this does not constitute adequate
  21 time to respond.
  22 Request No. 2:
  23           Any and all COMMUNICATIONS between YOU and PETER EAVIS
  24 concerning Bofl during the RELEVANT TIME PERIOD.
  25 Response No. 2:
  26           Objection. Defendant objects that the request is vague, ambiguous, and
  27 overbroad. Defendant objects that this request calls for documents which are
  28 protected by the attorney-client privilege, work product doctrine, privacy, or any
                                               -18-                Case No. 3:15-cv-2353-BAS-NLS
       SMRH:476145615.2   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF JOINT MOTION FOR
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   1 other privilege or right of confidentiality available under California law. Defendant
   2 objects that the request is oppressive, burdensome, and meant to harass. Defendant
   3 objects that the request calls for a legal conclusion and/or expert opinion. Defendant
   4 objects that the request is not relevant and unlikely to lead to the discovery of
   5 admissible evidence.
   6 BofI’s Reason to Compel Production:
   7           Peter Eavis is a writer for The New York Times and is the author of an
   8 October 13, 2015 article referencing Erhart’s allegations against BofI (including the
   9 confidential communications with the Bank’s regulators). (Cronthall Decl. ¶ _.)
  10 Gillam’s objections to Request No. 2 are identical to her objections to Request No.
  11 1. Accordingly, BofI incorporates by reference its response to Gillam’s objections
  12 to Request No. 1.
  13 Gilliam’s Basis for Objections:
  14           BofI’s Request No. 2 is nearly identical to its Request No. 1, except that it
  15 targets communications with Peter Eavis. Accordingly, Defendant incorporates the
  16 basis of its objections to Request No. 1 by reference herein. Moreover, BofI’s own
  17 reason to compel production is based on the October 13, 2015, article authored by
  18 Eavis discussing Erhart’s allegations against BofI. In other words, the article, which
  19 contains statements from both Ms. Gillam, and Gregory Garrabrants, Bank of
  20 Internet’s chief executive, references information contained in the complaint. There
  21 is nothing to suggest that Eavis has any confidential information shared with him by
  22 Ms. Gillam.
  23 Request No. 3:
  24           Any and all COMMUNICATIONS between YOU and SEEKING ALPHA
  25 concerning Bofl during the RELEVANT TIME PERIOD.
  26 Response No. 3:
  27           Objection. Defendant objects that the request is vague, ambiguous, and
  28 overbroad. Defendant objects that this request calls for documents which are
                                              -19-                 Case No. 3:15-cv-2353-BAS-NLS
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   1 protected by the attorney-client privilege, work product doctrine, privacy, or any
   2 other privilege or right of confidentiality available under California law. Defendant
   3 objects that the request is oppressive, burdensome, and meant to harass. Defendant
   4 objects that the request calls for a legal conclusion and/or expert opinion. Defendant
   5 objects that the request is not relevant and unlikely to lead to the discovery of
   6 admissible evidence.
   7 BofI’s Reason to Compel Production:
   8           Seeking Alpha is a crowd sourced financial blog, which publishes articles on
   9 a broad range of stocks, asset classes, and investment strategies (including short
  10 selling). (Cronthall Decl. ¶ 10.) Given Erhart and his attorney’s prior unauthorized
  11 disclosures to The New York Times, BofI began to monitor other media outlets to
  12 determine whether Erhart was continuing to leak BofI’s confidential information.
  13 (Id. ¶ 11.) As an anonymous, crowd sourced website, Seeking Alpha is a natural
  14 platform for a rogue former employee and his attorney to continue to anonymously
  15 leak BofI’s confidential information.
  16           After Erhart’s and/or Gillam’s October 13, 2015 leak to The New York
  17 Times, BofI noticed a considerable uptick in BofI coverage on Seeking Alpha’s
  18 website. For example, from October 13, 2015 through January 6, 2016, Seeking
  19 Alpha published 17 articles on BofI. (Id.) By way of comparison, during the
  20 equivalent time period prior to Erhart’s October 13, 2015 leak to The New York
  21 Times (i.e. from July 20, 2015 to October 13, 2015), Seeking Alpha hosted only
  22 four articles on BofI. (See id.) BofI suspects that Erhart and/or Gillam may be
  23 coordinating with Seeking Alpha.
  24           Whether Gillam communicated with Seeking Alpha concerning BofI is
  25 directly relevant to whether Gillam (or Erhart) disseminated BofI’s confidential
  26 information. Likewise, BofI intends to trace any damages resulting from the
  27 Seeking Alpha articles to Erhart’s and/or Gillam’s unauthorized leaks. Gillam must
  28
                                                -20-                 Case No. 3:15-cv-2353-BAS-NLS
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   1 produce any communications she had with Seeking Alpha or affirm under oath that
   2 no such communications have ever existed.
   3           Gillam’s objections to Request No. 3 are identical to her objections to
   4 Request No. 1. Accordingly, BofI incorporates by reference its response to Gillam’s
   5 objections to Request No. 1.
   6 Gilliam’s Basis for Objections:
   7           BofI’s Request No.3 is nearly identical to its Request No. 1, except that it
   8 targets communications with Seeking Alpha. Accordingly, Defendant incorporates
   9 the basis of its objections to Request No. 1 by reference herein. Despite Mr.
  10 Erhart’s Declaration and testimony that he did not disseminate confidential
  11 information, BofI continues to search for a fictional smoking gun by casting a wide
  12 net and now dragging Ms. Gillam into the allegations of the suit. This request is
  13 further rendered irrelevant because it is based on the unfounded belief that Ms.
  14 Gillam and Mr. Erhart are “coordinating” with Seeking Alpha. BofI makes logical
  15 leaps, asserting that confidential information must have been disseminated because
  16 there was an “uptick” in publications after Mr. Erhart’s whistleblower lawsuit was
  17 filed, when the obvious explanation is that, of course, there would be an uptick
  18 when a whistleblower publicly comes forward; publicity is a natural consequence of
  19 filing a lawsuit of this nature!
  20 Request No. 4:
  21           Any and all COMMUNICATIONS between YOU and any persons or entities
  22 YOU understood or believed to be writing articles for submission to SEEKING
  23 ALPHA during the RELEVANT TIME PERIOD.
  24 Response No. 4:
  25           Objection. Defendant objects that the request is vague, ambiguous, and
  26 overbroad. Defendant objects that this request calls for documents which are
  27 protected by the attorney-client privilege, work product doctrine, privacy, or any
  28 other privilege or right of confidentiality available under California law. Defendant
                                                 -21-                Case No. 3:15-cv-2353-BAS-NLS
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   1 objects that the request is oppressive, burdensome, and meant to harass. Defendant
   2 objects that the request calls for a legal conclusion and/or expert opinion. Defendant
   3 objects that the request is not relevant and unlikely to lead to the discovery of
   4 admissible evidence.
   5 BofI’s Reason to Compel Production:
   6           Request No. 4 seeks all communications with persons Gillam believed may
   7 have authored articles for Seeking Alpha. The documents sought by Request No. 4
   8 are substantively identical to the documents sought by Request No. 3. Accordingly,
   9 BofI incorporates by reference its response to Gillam’s objections to Request No. 3.
  10 Gilliam’s Basis for Objections:
  11           Defendant incorporates the basis of its objections to Request Nos. 1 and 3 by
  12 reference herein. Moreover, this request is even broader than Request Nos. 1-3, as it
  13 seeks all communications with persons “believed” to be writing articles for
  14 submission to Seeking Alpha. BofI asks Ms. Gillam to step into the shoes of others
  15 and read their minds as to whether they may have submitted or are submitting
  16 articles. The request is not limited to asking for confidential information provided
  17 for articles and, based on BofI’s own position, BofI wishes to monitor Ms. Gillam’s
  18 communications with third parties and media indefinitely (not through the date of
  19 filing the complaint). BofI will continue to abuse the power of subpoena to make
  20 these type of requests to Ms. Gillam to “monitor” her conduct in the litigation,
  21 intruding into the attorney-client relationship and freezing free speech.
  22 Request No. 5:
  23           Any and all COMMUNICATIONS between YOU and any persons or entities
  24 YOU understood or believed to be seeking or sharing information regarding Bofl,
  25 including but not limited to brokerage firms, short sellers, investors, law firms,
  26 investigators or others affiliated therewith.
  27
  28
                                                -22-                 Case No. 3:15-cv-2353-BAS-NLS
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   1 Response No. 5:
   2           Objection. Defendant objects that the request is vague, ambiguous, and
   3 overbroad. Defendant objects that this request calls for documents which are
   4 protected by the attorney-client privilege, work product doctrine, privacy, or any
   5 other privilege or right of confidentiality available under California law. Defendant
   6 objects that the request is oppressive, burdensome, and meant to harass. Defendant
   7 objects that the request calls for a legal conclusion and/or expert opinion. Defendant
   8 objects that the request is not relevant and unlikely to lead to the discovery of
   9 admissible evidence.
  10 BofI’s Reason to Compel Production:
  11           Request No. 5 seeks Gillam’s communications with third parties who have
  12 actively sought information concerning BofI. Gillam and Erhart are privy to
  13 confidential information concerning BofI. Accordingly, BofI must review Gillam’s
  14 communications with third-parties concerning BofI to determine whether Gillam
  15 and/or Erhart have again disclosed BofI’s confidential information.
  16           Gillam’s objections to Request No. 5 are identical to her objections to
  17 Request No. 1. Accordingly, BofI incorporates by reference its response to Gillam’s
  18 objections to Request No. 1.
  19 Gilliam’s Basis for Objections:
  20           Defendant incorporates the basis of his objections to Request Nos. 1 through
  21 4 by reference herein. Moreover, this request is even broader than the previous four,
  22 as it requests all communications with persons “seeking or sharing” information.
  23 BofI does not just seek confidential communications disseminated, it seeks
  24 information others may have shared with Ms. Gillam. Ms. Gillam’s investigations
  25 and information-gathering in preparation for and during litigation constitute work
  26 product, which BofI absolutely is not entitled to. Moreover, this request seeks
  27 privileged information as federal regulators and agencies are third parties within the
  28 meaning of this request. BofI is already aware that Mr. Erhart blew the whistle and
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   1 had communications with regulators, communications which would be privileged.
   2 The OCC letter (Ex. H, OCC Letter to Gillam) itself states that non-public OCC
   3 information is confidential and privileged, and that a private litigant who seeks non-
   4 public OCC information must submit a request to the OCC’s Director of Litigation.
   5 Id.; see also 12 C.F.R. Section 4.34(a). Accordingly, Ms. Gillam cannot provide
   6 these communications and BofI must seek them through other means.
   7 Request No. 6:
   8           Any and all non-privileged COMMUNICATIONS between YOU and any
   9 persons or entities concerning Bofl during the RELEVANT TIME PERIOD.
  10 Response No. 6:
  11           Objection. Defendant objects that the request is vague, ambiguous, and
  12 overbroad. Defendant objects that this request calls for documents which are
  13 protected by the attorney-client privilege, work product doctrine, privacy, or any
  14 other privilege or right of confidentiality available under California law. Defendant
  15 objects that the request is oppressive, burdensome, and meant to harass. Defendant
  16 objects that the request calls for a legal conclusion and/or expert opinion. Defendant
  17 objects that the request is not relevant and unlikely to lead to the discovery of
  18 admissible evidence.
  19 BofI’s Reason to Compel Production:
  20           The documents sought by Request No. 6 are relevant for the reasons set forth
  21 in BofI’s Reason to Compel Production in response to Request No. 5. Gillam’s
  22 objections to Request No. 5 are identical to her objections to Request No. 1.
  23 Accordingly, BofI incorporates by reference its response to Gillam’s objections to
  24 Request No. 1.
  25 Gilliam’s Basis for Objections:
  26           Defendant incorporates the basis of his objections to Request Nos. 1 through
  27 5 by reference herein. This request is completely overbroad as it seeks all
  28 communications concerning BofI, with anyone. This is beyond any relevance claim
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   1 or demonstrated need BofI has or could credibly construct, and places the undue
   2 burden on Ms. Gillam and her firm of searching all communications and
   3 determining whether something was non-privileged and “concerned” BofI.
   4 IV.       CONCLUSION
   5           A.         BofI’s Conclusion
   6           For the reasons set forth above, the Court should compel Gillam to produce
   7 documents in response to each of the Requests in the Subpoena. In the alternative,
   8 to the extent Gillam has no responsive documents to a particular request, the Court
   9 should require Gillam to affirm that no such documents have ever existed.
  10           B.         Gillam’s Conclusion
  11           BofI’s subpoena is nothing but a fishing expedition, an abusive litigation
  12 tactic mean to harass Ms. Gillam and further punish Mr. Erhart for blowing the
  13 whistle on the bank. If its requests are granted, BofI will continue utilizing this
  14 strategy of issuing subpoenas to the attorney of record under the guise of serving as
  15 a self-proclaimed arbiter of ensuring Ms. Gillam’s compliance with the TRO,
  16 meanwhile intruding into Ms. Gillam’s mental processes and work product, and
  17 compromising the attorney-client relationship. BofI has not shown the relevance or
  18 necessity of its overly broad, vague, and ambiguous subpoena. The subpoena to Ms.
  19 Gillam is improper under Rules 26 and 45. Moreover, BofI rejected Ms. Gillam’s
  20 offer of compromise, demonstrating its bad faith in the process. Defendant has no
  21 doubt that the next step will be for BofI to seek Ms. Gillam’s testimony, and there is
  22 no knowing where it will stop. Accordingly, Defendant and Ms. Gillam request that
  23 the court quash Plaintiff’s subpoena and deny the requests in their entirety.
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                                                   -25-                 Case No. 3:15-cv-2353-BAS-NLS
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